                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF PUERTO RICO

    IN RE
                                                        BANKRUPTCY 18-07310 ESL
    JUAN M BARRETO GINORIO
    HC 05 BOX 91635                                     CHAPTER 12
    ARECIBO PR 00612

    SS xxx-xx-4619
    Debtor



              NOTICE TO CREDITORS & OTHER PARTIES IN INTEREST

   NOTICE IS HEREBY GIVEN THAT:
          A §341 Meeting of Creditors will be held at the OCHOA BUILDING, TANCA ST.,
   1st FL., COMERCIO ST ENTRANCE, OLD SAN JUAN, PUERTO RICO on March 12,
   2019 at 10:00 a.m. to consider the following matter:


§341 MEETING OF CREDITORS previously scheduled for February 14, 2019 at 10:30
a.m. has been rescheduled to March 12, 2019 at 10:00 a.m.


       CERTIFY: On this same date this Notice has been electronically filed and caused to
be noticed to participants. A copy has also been mailed by regular mail to all other creditors
and parties in interest pursuant to the attached matrix.

          In Caguas for San Juan this 14 of February, 2019



                                                  /s/   L.A. Morales
                                                  USDC 121100
                                                  L.A. MORALES & ASSOCIATES P.S.C.
                                                  URB VILLA BLANCA
                                                  CAGUAS, PUERTO RICO 00725-1908
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